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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA
NICOLE ZICCARELLI,                            )
                                              )
                                              )   2:20-cv-1831-NR
               Plaintiff,                     )
                                              )
       v.                                     )
                                              )
THE ALLEGHENY COUNTY BOARD                    )
                                              )
OF ELECTIONS, et al.,                         )
               Defendants.                    )
                              SCHEDULING ORDER
      AND NOW, this 14th day of December, 2020, given the time-sensitive nature

of Ms. Ziccarelli’s claims, and based on its review of the parties’ status reports, ECF

39; ECF 40; ECF 41, the Court hereby ORDERS as follows:

      1.      Motions and Briefing Schedule. Ms. Ziccarelli proposes that the

Court should resolve her claims on cross-motions for summary judgment after

limited, expedited discovery. Defendants and Intervenors argue that the case can be

resolved on motions to dismiss, followed by cross-motions for summary judgment only

if necessary, and that no discovery should be permitted. After careful consideration,

the parties are directed to file cross-motions for summary judgment. If Defendants

and Intervenors wish to move for dismissal under Rule 12(b)(6) in lieu of answering

the complaint, they should file a combined motion to dismiss and motion for summary

judgment raising all arguments for dismissal under both Rule 12(b)(6) and Rule 56.

The following briefing schedule shall apply:1

              a.     Ms. Ziccarelli shall file a motion and supporting brief, not to

      exceed 35 pages, on December 23, 2020. The motion must include a proposed

      order that identifies, with as much specificity as possible, the precise relief that

      Ms. Ziccarelli wishes the Court to grant.

1This briefing schedule is patterned after the four-brief briefing schedule for cross-
appeals under Federal Rule of Appellate Procedure 28.1.
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       b.       Defendants and Intervenors shall file their cross-motions for

summary judgment / motions to dismiss and supporting briefs, not to exceed

35 pages, on December 30, 2020. Those briefs shall advance arguments in

favor of summary judgment or dismissal, as well as in opposition to Ms.

Ziccarelli’s motion. The motions should include a proposed order. Unless they

indicate otherwise, all Defendants and Intervenors will be deemed to join in

the arguments of all other Defendants and Intervenors, without the need to

file any formal joinder. Accordingly, they may rely on each other’s briefs to

address some or all of the relevant issues, if they so desire.

       c.       Ms. Ziccarelli shall file an omnibus response brief to Defendants’

and Intervenors’ motions, not to exceed 15 pages, which shall both respond to

those motions and reply in further support of Ms. Ziccarelli’s own motion, by

January 6, 2020.

       d.       Defendants and Intervenors shall file a reply brief in support of

their motions, not to exceed 15 pages, by January 8, 2020.

       e.       The Court hereby excuses the requirements of Local Rule 56(a).

Specifically, the parties need not file separate “concise statements” of material

fact or responsive concise statements. Instead, the parties should confer in an
attempt to agree to a joint stipulation of material facts and / or include a “facts”

section in their briefs setting forth a narrative of the facts that the filing party

contends are undisputed and material, including any facts which for purposes

of the summary judgment motions only are assumed to be true. The parties

should cite to a particular part of the record supporting each statement of fact

in the brief.

       f.       The parties shall each separately prepare an appendix containing

any portions of the record that the parties wish to direct to the Court’s
attention in their briefing. Any appendix that is filed must begin with a table

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      of contents identifying the corresponding exhibit number for each document.

      When filing these appendices on ECF, the parties must file the table of

      contents as the “main document” and each document within the appendix as a

      separate “exhibit.”
      2.      Limited, Expedited Discovery. Given the nature of Ms. Ziccarelli’s

claims, the compressed timeline, and interests of relevance, cost, and proportionality,

the Court will not authorize discovery prior to the filing of the parties’ cross-motions

beyond the exchange of initial disclosures, which the Court will order the parties to

exchange on an expedited basis. The parties shall also produce any documents

encompassed within their initial disclosures, which would include documents upon

which the parties will rely in their summary-judgment motions (excluding any

witness declarations, which may be “produced” when filed with any party’s brief).

While Ms. Ziccarelli seeks permission to serve other, unspecified discovery requests,

she also acknowledges that the relevant “set of facts” can largely be stipulated to and

argues that “there remains primarily one open legal issue in this matter … whether

the remedy for the constitutional violation identified in the original complaint … is

to ‘level up’ or ‘level down.’” ECF 39, pp. 2, 6-7. This suggests that there are likely

to be no factual disputes here, and very little fact discovery required. Indeed, the
claims articulated in the complaint present pure questions of law, challenging the

legality of a discrete and readily identifiable class of ballots, and, in the Court’s view,

requiring no factual development beyond recognition of the decisions by the

Allegheny County and Westmoreland County Boards of Elections on whether those

ballots should count, as well as the related decision of the Pennsylvania Supreme

Court. Additionally, it has been almost three weeks since the Court denied Ms.

Ziccarelli’s motion for a temporary restraining order, and she did not move for

expedited discovery at any point during that time—which is an additional basis for
limiting discovery here.

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      Accordingly, the Court will exercise its discretion and limit pre-summary-

judgment discovery to the expedited exchange of initial disclosures, and production

of documents regarding the same. See Superior Offshore Int'l, Inc. v. Bristow Grp.,

Inc., 490 F. App’x 492, 500 (3d Cir. 2012) (“We typically afford trial courts broad

discretion to regulate discovery. … in order to overturn a district court’s ruling to

limit discovery, we must generally conclude that there has been an interference with

a substantial right, ... or that the discovery ruling is seen to be a gross abuse of

discretion resulting in fundamental unfairness in the trial of the case.”) (cleaned up).

      The parties shall exchange initial disclosures and produce documents

regarding the same by December 21, 2020. Initial disclosures and documents shall

be produced to and served on all parties to this action. The Court also orders the

parties to confer and reach a joint stipulation as to any material facts by that date.

No other discovery will be authorized.

DATED: December 14, 2020                       BY THE COURT:

                                               /s/ J. Nicholas Ranjan
                                               United States District Judge




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